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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

BEVERLY HENRY, ET AL. * CIVIL ACTION NO.: 16-15895
k
Plaintiffs * SECTION: L
*
* DIVISION: 2
v k
* JUDGE: FALLON
k
DAVITA DIALYSIS CENTER OF * MAGISTRATE: WILKINSON
DONALDSONVILLE, LA *
k
Defendant *

******************************************************************************

FIRST AMENDING COMPLAINT

Plaintiffs, Beverly Henry, Danny Taylor, lJr., Dionne Taylor, and Olivia Taylor,
individually and on behalf of their deceased mother, Beverly Ross Taylor, specifically refer to,
adopt, and incorporate by reference their Petition for Damages, originally flled in the Twenty-
Third Judicial District Court for the Parish of Ascension, State of Louisiana, and hereby amend
those allegations in the following respects:

A.

By amending the introduction paragraph as follows:

Petitioners, Beverly Henry, Danny Taylor, Jr., Dionne Taylor, Olivia Taylor, and Danny
Taylor, Sr., individually and on behalf of their deceased mother and wife, Beverly R. Taylor,

hereby file this Petition for Damages and respectfully represent the following:

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By amending paragrale 1 as follows:
l.

Petitioners are all of the hill age of majority. Petitioners, Beverly Taylor, Danny Taylor,

Jr., Dionne Taylor, and Olivia Taylor are the surviving children of the decedent, Beverly R.

Taylor. Petitioner, Danny Taylor, Sr., is the surviving spouse of the decedent, Beverly R. Taylor.
C.

By amending paragraph 13 as follows:
1 3 .

The decedent’s surviving children, Beverly Henry, Danny Taylor, Dionne Taylor, and
Olivia Taylor, along with the decedent’s surviving spouse, Danny Taylor, Sr., bring this
wrongful death action, pursuant to Louisiana Civil Code art. 2315.2, as statutory beneficiaries
D.

By amending paragraph 16 as follows:
l 6.

The decedent’s surviving children, Beverly Henry, Danny Taylor, Jr., Dionne Taylor, and
Olivia Taylor, along with the decedent’s surviving spouse, Danny Taylor, Sr., bring this survival
action, pursuant to Louisiana Civil Code art. 2315.1, as statutory beneficiaries
E.

By amending paragraph 19 as follows:
19.

As a result of the foregoing acts of negligence of Defendant, Davita Dialysis Center,
Petitioners, Beverly Henry, Danny Taylor, Jr., Dionne Taylor, Olivia Taylor, and Danny Taylor,

Sr., sustained severe and painful personal injuries and damages, for their mother and wife

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suffered severe medical complications and death as a result of this incident. Said injuries and
damages include, but are not limited to:

a. Loss of consortium;

b. Loss of companionship, affection, society, and service;

c. Expenses associated with the care of their mother and wife;

d. Funeral and burial expenses; and

e. Any and all other damages as are reasonable in the premises.

F.

By amending paragraph 20 as follows:
20.

WHEREFORE, Petitioners, Beverly Henry, Danny Taylor,Jr., Dionne Taylor, Olivia
Taylor, and Danny Taylor, Sr., pray that Defendant, Davita Dialysis Center of Donaldsonville,
Louisiana, be served with a copy of this Petition for Damages and that, after due proceedings,
there be judgment herein in favor of Petitioners and against Defendant, for all damages as are
reasonable in the premises, together with legal interest thereon from the date of the filing of this
Petition for Damages until paid, for all costs of these proceedings, and for all general and
equitable relief.

Respectfully submitted,
KARA HAl)ICAN SAMUELS & AssoclATEs, L.L.C.

BY: /s/ Kara Hadican Samuels
KARA HADICAN SAMUELS (#29234)
935 Gravier Street, Suite 1150
New Orleans, Louisiana 70112
Telephone: (504) 558-9478
Facsimile: (504) 558-9482

Email: kara@karasarnuels.com

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Attorneyfor Plaintijfs'

CERTIFICATE OF SERVICE
I certify that a copy of the above and foregoing pleading has been served upon counsel
for all parties via the court’s electronic filing service on the 20th, day of January, 2017, New
Orleans, Louisiana.

/s/ Kara Hadican Samuels
KARA HADICAN SAMUELS

